           Case 2:21-cv-00133-AKK Document 1 Filed 01/28/21 Page 1 of 7                     FILED
                                                                                   2021 Jan-28 AM 10:37
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

SCOTT’S JEWELRY & PAWN INC,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, D’WANNA WILLIAMS (“Plaintiff”) by and through the

undersigned counsel, hereby files this Complaint and sues SCOTT’S JEWELRY &

PAWN INC, for injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C.

§12181 et seq., (“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

                                           1
           Case 2:21-cv-00133-AKK Document 1 Filed 01/28/21 Page 2 of 7




pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff, D’WANNA WILLIAMS (hereinafter referred to as

“WILLIAMS”) is a resident of the State of Alabama and is a qualified individual

with a disability under the ADA. WILLIAMS suffers from what constitutes a

“qualified disability” under the Americans With Disabilities Act of 1990, (“ADA”)

and all other applicable Federal statutes and regulations to the extent that she suffers

from paraplegia and has had amputation of both of her legs and requires a wheelchair

for mobility.    Prior to instituting the instant action, WILLIAMS visited the

Defendant’s premises at issue in this matter, and was denied full, safe and equal

access to the subject properties due to their lack of compliance with the ADA.

WILLIAMS continues to desire and intends to visit the Defendant’s premises but

continues to be denied full, safe and equal access due to the barriers to access that

continue to exist.

      4.      The Defendant, SCOTT’S JEWELRY & PAWN INC, is a corporation

registered to do business and, in fact, conducting business in the State of Alabama.

Upon information and belief SCOTT’S JEWELRY & PAWN INC, (hereinafter

referred to as “SCOTT’S JEWELRY ”) is the owner, lessee and/or operator of the

real property and improvements that are the subject of this action, specifically: The

                                           2
           Case 2:21-cv-00133-AKK Document 1 Filed 01/28/21 Page 3 of 7




Family Pawn located at 873 1st Street North, in Alabaster, Alabama (hereinafter

referred to as the "Pawn Shop").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Pawn Shop

owned by SCOTT’S JEWELRY is a place of public accommodation in that it is a

retail Pawn Shop operated by a private entity that provides goods and services to the

public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Pawn Shop in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

                                          3
         Case 2:21-cv-00133-AKK Document 1 Filed 01/28/21 Page 4 of 7




access to, and the benefits of the services offered at the Pawn Shop owned by

SCOTT’S JEWELRY. Prior to the filing of this lawsuit, Plaintiff visited the Pawn

Shop at issue in this lawsuit and was denied access to the benefits, accommodations

and services of the Defendant’s premises and therefore suffered an injury in fact as

a result of the barriers to access listed in Paragraph 11, below that she personally

encountered. In addition, Plaintiff continues to desire and intends to visit the Pawn

Shop, but continues to be injured in that she is unable to and continues to be

discriminated against due to the barriers to access that remain at the Pawn Shop in

violation of the ADA. WILLIAMS has now and continues to have reasonable

grounds for believing that she has been and will be discriminated against because of

the Defendant’s continuing deliberate and knowing violations of the ADA.

      10.        Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.        SCOTT’S JEWELRY is in violation of 42 U.S.C. §12181 et seq. and

28 C.F.R. §36.302 et seq. and is discriminating against the Plaintiff as a result of

inter alia, the following specific violations that Plaintiff personally encountered:

            i.         There are no accessible van accessible parking spaces in the

                       parking area;

                                             4
         Case 2:21-cv-00133-AKK Document 1 Filed 01/28/21 Page 5 of 7




             ii.         There is a change in level at the front concrete walk and the level

                         of the asphalt parking (approximately 3 inches) such that there is

                         no wheelchair accessible route to enter the Pawn Shop;

            iii.         Upon information and belief there are additional barriers to

                         wheelchair users inside the Pawn Shop.

      12.          There are other current barriers to access and violations of the ADA at

the Pawn Shop owned and operated by SCOTT’S JEWELRY that were not

specifically identified herein as the Plaintiff is not required to engage in a futile

gesture pursuant to 28 C.F.R. Part 36, §36.501 and, as such, only once a full

inspection is performed by Plaintiff or Plaintiff’s representatives can all said

violations be identified.

      13.          To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.          Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

SCOTT’S JEWELRY was required to make its Pawn Shop, a place of public

accommodation, accessible to persons with disabilities by January 28, 1992. To

date, SCOTT’S JEWELRY has failed to comply with this mandate.

      15.          Plaintiff has been obligated to retain undersigned counsel for the filing

                                                 5
         Case 2:21-cv-00133-AKK Document 1 Filed 01/28/21 Page 6 of 7




and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against SCOTT’S

JEWELRY and requests the following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

             D.     That the Court award reasonable attorney’s fees, costs
                    (including expert fees) and other expenses of suit, to the
                    Plaintiff; and

             E.     That the Court award such other and further relief as it

                                           6
       Case 2:21-cv-00133-AKK Document 1 Filed 01/28/21 Page 7 of 7




                 deems necessary, just and proper.

     Dated this 28th day of January, 2021.


                                             Respectfully submitted,

                                             By: /s/ Edward I. Zwilling
                                             Edward I. Zwilling, Esq.
                                             AL State Bar No.: ASB-1564-L54E
OF COUNSEL:

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                                        7
